







		NO. 12-08-00363-CR



IN THE COURT OF APPEALS



TWELFTH COURT OF APPEALS DISTRICT



TYLER, TEXAS




ROBERT KASSUBE,§
	APPEAL FROM THE 241ST

APPELLANT


V.§
	JUDICIAL DISTRICT COURT OF


THE STATE OF TEXAS,

APPELLEE§
	SMITH COUNTY, TEXAS






MEMORANDUM OPINION


PER CURIAM


	Appellant pleaded guilty to the offense of evading arrest, a third degree felony.  The trial
court sentenced Appellant to imprisonment for ten years.  We have received the trial court's
certification showing that Appellant waived his right to appeal.  See Tex. R. App. P. 25.2(d).  The
certification is signed by Appellant and his counsel.  The clerk's record supports the trial court's
certification.  See Greenwell v. Thirteenth Court of Appeals, 159 S.W.3d 645, 649 (Tex. Crim. App.
2005); Dears v. State, 154 S.W.3d 610, 614-15 (Tex. Crim. App. 2005).  Accordingly, the appeal
is dismissed for want of jurisdiction.

Opinion delivered October 8, 2008.

Panel consisted of Worthen, C.J., Griffith, J., and Hoyle, J.




(DO NOT PUBLISH)


